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      CHRISTOPHER GORDON
10
                             UNITED STATES DISTRICT COURT
11                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
12 CHRISTOPHER GORDON, an                          Case No. 2:15-cv-02581-CAS(Ex)
   individual,
13         Plaintiff,
                                                   [PROPOSED] ORDER
                     vs.                           DISMISSING ACTION WITH
14 SPORTS & CUSTOM TEES, INC.,
   a Michigan Corporation dba TEE                  PREJUDICE
15 SHIRT PALACE; and DOES 1 to
   20, inclusive,
16         Defendants.

17 SPORTS & CUSTOM TEES, INC., a
   Michigan Corporation
18        Counterclaim-Plaintiffs,

19                   vs.
   CHRISTOPHER GORDON, an
   individual,
20         Counterclaim-Defendant.

                      STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE
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1          IT IS HEREBY STIPULATED AND AGREED by and between the

2 parties and/or their respective counsel(s) that the above-action is voluntarily

3 dismissed with prejudice pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of

4 Civil Procedure. By dismissal of these claims and counterclaims, this case should

5 be closed. The parties, through their attorneys, have settled this action pursuant to

6 a settlement agreement.      Each party shall bear its own costs, expenses, and

7 attorneys’ fees.

8          Accordingly, all dates in this action are hereby VACATED.

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10 IT IS SO ORDERED.

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12 DATED:        January 6, 2016                __________________________
                                                CHRISTINA A. SNYDER
13                                              United   States District  Judge

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                   STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE
